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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS [

  

CLERK, Le DISTHIC

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SPECIAL ORDER NO 13-11

COURT OPERATIONS UNDER THE EXIGENT CIRCUMSTANCES
CREATED BY THE COVID-19 PANDEMIC

Due to the continuing exigent circumstances created by the COVID-1I9 pandemic, the Court
hereby extends all continuances under Special Order Nos. 13-5 and 13-6 through May 31, 2020,
except as otherwise specified in this Order.

1. Other than case number 7:18-cv-180, civil and criminal jury trials scheduled to begin
on any date from May | through May 31, 2020, are continued to a date after May 31, 2020, to be
reset by each presiding judge. A presiding judge has the discretion, however, to determine, upon
motion of a defendant in a criminal case, that emergency circumstances require a case to be tried on
an earlier date and may order a trial to proceed in that case.

2. Due to the Court’s reduced ability to obtain an adequate spectrum of jurors and due
to the reduced availability of attorneys and Court staff to be present in courtrooms because of
public health considerations, the period of exclusion under the Speedy Trial Act, 18 U.S.C §
3161(h)(7)(A), is extended through May 31, 2020. The Court finds that the ends of justice served
by ordering these continuances outweigh the best interests of the public and each defendant’s right
to a speedy trial. This Order and periods of exclusion, along with the periods of exclusion under
Special Order Nos. 13-5 and 13-6, are incorporated by reference as a specific finding under 18
U.S.C. § 3161 (h)(7)(A) in the record of each pending case where the Speedy Trial Act applies.

3. Grand jury proceedings may resume under conditions directed by the Court.

4. Visitor restrictions under Special Order No. 13-8 are extended through May 31,
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2020.

All other provisions of Special Order Nos. 13-5 through 13-9 remain in effect until modified

by subsequent order or terminated by operation of law.

SO ORDERED this 22” day of April, 2020.

  

 

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